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August 18, 2023

VIA CM/ECF

Hon. Michael A. Hammer, U.S.M.J,
Martin Luther King Building

& U.S. Courthouse

50 Walnut Street Room 4015

MLK. 2C

Newark, NJ 07101

Re: Emerson Redevelopers Urban Renewal, LLC v. Borough of Emerson, et ab.
Docket No.: 2:20-cv-04728-MCA-MAH

Dear Judge Hammer:

We represent Plaintiff and write jointly with Defendants pursuant to the Court’s text order
dated July 25, 2023, directing the parties to meet and confer in an attempt to resolve the issues
raised by Defendants’ July 25, 2023 letter and set forth an amended schedule, if any. [Dkt. No.
61]. The parties propose the following amended schedule.

Event Proposed Date
Defendants shall serve a Supplemental Notice to Produce (the August 21, 2023
“Supplemental Notice”) directed solely to issues raised by D. Cahn in
the July 11, 2023 disclosure from Plaintiff.
Plaintiff shall provide responses, objections, and a supplemental | September 15, 2023
production of documents in response to the Supplemental Notice.
Completion of the deposition of D, Cahn, and any other witness to the October 30, 2023
extent the deposition concerns an issues raised by the July 11, 2023
disclosure or supplemental production.

Service of Defendants’ expert report in response to the reports of E. October 30, 2023
Keller and A. Bernard.
Service of Defendants’ expert damages report. December 15, 2023

Completion of expert depositions. January 30, 2024

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If this schedule meets with Your Honor’s approval, the parties request that the Court “so
order” this letter.
We thank Your Honor for your courtesies in this matter.
Respectfully submitted,

s/Stephen M. Klein
Stephen M. Klein

All counsel of record (via CM/ECF)

Me November [, 2023 teley hone

flees shall ‘pve teed ab Scheduled

$0 ORDERED

_/Michael A, Hammer
Michael A. Hammer, U.S.MJ.

